Case 1:10-cr-20767-JLK Document 590 Entered on FLSD Docket 12/29/2020 Page 1 of 3




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                      Case No. 10-CR-20767-JLK

  UNITED STATES OF AMERICA,

                         Plaintiff,
  vs.


  JUDITH NEGRON,

                    Defendant.
  _____________________________/

    DEFENDANT JUDITH NEGRON’S NOTICE OF FILING EXECUTIVE GRANT OF
          CLEMENCY EXECUTED BY PRESIDENT DONALD J. TRUMP

         COMES NOW, the Defendant, JUDITH NEGRON (“Defendant”), by and through her

  counsel of record, who files this, her Notice Of Filing Executive Grant of Clemency executed by

  President Donald J. Trump of the United States of America, copy of which is attached hereto, in

  the instant case with the Clerk of this Court.

  December 29, 2020                                  Respectfully submitted,
  Tavernier, Florida.
                                                      //ss// William M. Norris
                                                     WILLIAM M. NORRIS
                                                     Fla. Bar# 309990
                                                     William M. Norris, P.A.
                                                     134 Keys Height Drive
                                                     Tavernier, FL 33070
                                                     Telephone: (305)279-9311
                                                     wnorrislaw@aol.com
Case 1:10-cr-20767-JLK Document 590 Entered on FLSD Docket 12/29/2020 Page 2 of 3




                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 29th day of December, 2020, I electronically filed the
  foregoing document with the Clerk of Court using the CM/ECF system. I also certify that the
  foregoing document is being served this day on all counsel of record and pro se parties identified
  below in the manner specified, either via transmission of Notices of Electronic Filing generated
  by CM/ECF or in some other authorized manner for those counsel or parties who are not
  authorized to receive electronically Notices of Electronic Filing.


                                                              //s// William M. Norris
                                                              WILLIAM M. NORRIS




                                                  2
Case 1:10-cr-20767-JLK Document 590 Entered on FLSD Docket 12/29/2020 Page 3 of 3
